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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

NATIONAL COLLECTORS &
LIQUIDATORS, L.P. and UNITED
JOINT VENTURE,

       Plaintiffs,

v.                                                              Case No: 5:93-cv-58-Oc-28PRL

HERBERT O. POWELL, GLORIA L.
POWELL, LAKE JOY AND MAGIC
LAKE PROPERTY OWNER’S
ASSOCIATION, INC., JOHN DOE and
JANE DOE,

       Defendants.


                                           ORDER
       This matter s before the court on Michael Massey’s motion to be removed from the docket

as counsel of record. (Doc. 128). Mr. Massey was retained by the defendants in 2004 for the

specific purpose of dealing with the garnishment of items in a safe deposit box. (Doc. 110). Mr.

Massey claims that his representation of the defendants concluded after the safe deposit box issue

was resolved. Now, a new issue in this case has arisen regarding a writ of garnishment (Doc. 124)

and Mr. Massey asserts that he has not been retained by the defendants to handle the new issue.

Accordingly, Mr. Massey’s motion to be removed from the docket as counsel of record is

GRANTED.

       DONE and ORDERED in Ocala, Florida on October 16, 2020.
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Copies furnished to:

Counsel of Record
Unrepresented Parties




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